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              Exhibit 
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                                             -2-
      1           Mr. Gibson will then question the first witness.
      2           MR. GIBSON:   People would call George Pinckney.
      3                              GEORGE PINCKNEY,
       4                   called as a witness and, having been
                           previously sworn, testified as follows
       5                   in answer to:
       6
                  DIRECT EXAMINATION BY MR. GIBSON:
       7
                  Q    Please state, for the record, your name and
       8               occupation?
       9
                 A     George Pinckney, I am a patrolman with the City
      10
                       of Peoria police department.
      11
                 Q     Was this your occupation on June 20th, of this
     12
                       year?
     13          A     Yes, sir, it was.
                                                   •
     14          Q     And, what duties were assigned to you on that
      15               date?
      16
                 A     I was working through the juvenile bureau
.
<
N
      17
=                      trying to consult various witnesses or infonnation
:
~     18
                       regarding the murder on Garden Street.
      19
                 Q     Would you tell the Court whether at that time
     20
                       you were seeking any specific witness?
     21
                 A     Yes, I was.   I had information pertaining to a
     22
                       youth by the name of .Johnny.
     23
                 Q     And, how did the name of Johnny come to your
     24
                       attention during the investigation?

    SAVORY-LL-000094
             1:23-cv-01184-CRL-JEH # 318-3     Filed: 04/22/24   Page 3 of 57




                                                   -3-
      1           A    On January the 20th, approximately 12:15 I had
      2                talked to a girl by the name of Juanita
      3                Hanson.     She stated she had --
      4           MR. VIELEY:      I am going to object as to what she
      5                            stated.     That is hearsay, Your Honor,
      6                            unless she is going to testify.
      7           THE COURT:       Sustained.     The question is how did
      8                            that name come to him and he answered
      9                            that.     We won't go into her conver-
     10                            sation.
     11           BY MR. GIBSON:
     12
                  Q    Did you proceed, then, to look for Johnny?
     13
                 A     I tried to develop names.          The fnformation was
     14                that it was possibly a cousin of the victim
     15                and, also, checked schools in district 150.
     16
                 Q     And, in the course of your search for Johnny
<
~
N
     17
=                      that day did you find someone by that name
~
~    18                who would speak with you?
N
0
0
~
0
     19          A     Yes, sir, I did.
z
w
z
z
     20          Q     And, what was his full name?
0
~
m
0
     21          A     Johnny Lee Savory.
u
~
~


~
     22          Q     Where did you see him?
    23           A     I contacted him at the late afternoon high school.
    24           Q     And, under what circumstances did you meet with

    SAVORY-LL-000095
               1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 4 of 57




                                       -4-

        1                Johnny?
        2          A     I entered the school at approximately 3:30 and
        3                we had asked prior to his arrival through the
        4                principal to speak with him when he did arrive.
        5          Q     When he arrived and you met with Johnny Lee
        6                Savory who else, if anyone, was present?
        7          A     Officer Hines and myself.
        8          Q     Officer Hines is, also, from the juvenile divi-
        9                sion, is that correct?
       10          A     That's correct.
       11
                   Q     And, where in the late afternoon school did you
       12                meet with him?
       13          A     It would be the teacher's lounge at the left
       14                hand side.~,of the off ice.
       15          Q     About what time was this?
       16          A     This was approximately 3:30 P.M.
...
C


       17          Q     And, when he entered the room what did you say
::!
~
...
0
       18                to him?
N
0
~
0
       19          A     We told him that we were investigating this
       20                offense, that we understood that he had been
       21                with the victim prior to the day of the murder
       22                and that we would like to talk to him pertaining
       23                to their activities from the night before.
       24          Q     What did he say to you?

      SAVORY-LL-000096
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                                        -5-
         1
                   A     He stated at that time I don 1 t want to talk
         2               to you.     I don't want to make any statements.
         3         Q     What, if anything, did you do then?
         4         A     Officer Hines and myself explained to him
         5               that it was very important that we talk to
         6
                         him.   That as far as we knew he was the last
         7               person to have seen the victim alive and
         8               that maybe he could help us pertaining to
         9               something that happened the night before,
        IO
                         or give us some information in regards to
        11
                         why this had happened.
        12               What was his response?
                   Q
        13
                   A     Okay, I will talk to you now.
        14         Q     Would you relate to us, please, the conversation
        15
                         you then had with Johnny Lee Savory?
        16
                   A     He stated that the night prior to the murder
.
:       17               that he had met the victim at the late afternoon
::!

"
0:
~       18               high school at approximately 3:30.
"
0

~       19         Q     How long?
        20         A     That they departed the school together at 6:30,
        21               -:hat they took a bus to 33 Garden to the victim's
        22               home, arriving there at approximately 7-:00 P.M.
       23                He stated they went in the house by way of the
       24                front door and that the victim took the keys

      SAVORY-LL-000097
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                                                     -6-

                           out of the mailbox, upon entering the house
          2                they stated they were hungry, that they
          3                prepared some food.       Johnny stated he had
          4                taken hot dogs out of the refrigerator and
          5                some corn and placed it in the skillet, it
          6                was mixed together and heated.

          7          Q     You have mentioned the victim several times.

          8                Which victim are you referring to?
          9          A     This would be the Robinson youth.
         10          THE COURT:       What's the full name?
         11          BY MR. GIBSON:
         12          Q     What is the full name of the victim, Officer?
         13          THE COURT:       If you know.

         14          A     I am sorry.    I don't recall the first name.
         15          BY MR. GIBSON:
         16          Q     And, would you go on with what he then told you.
...
C


         17          A     He stated that they ate the food, that they both
=
:E
0:
~        18                drank from the same cup, upon finishing the meal
N
0

~        19                they cleaned up the dishes and started practicing
i
.;
z
z
         20                Kung Fu.    Apparently this practicing took place
0
~
m

0
u
         21                throughout the house, that the T.V. set was off
~
";!';    22                the stand and on the floor so as not to be
~




         23                broken.    He stated that he used the chug, they
         24                are two sticks with a chain in between and that

        SAVORY-LL-000098
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                                              -7-
  1                the victim had used a night stick and they
  2                played around like this for a while, then
  3                straightened up the house and left.
  4           Q    Now, clarify for us once more, Officer, when
  5                did Johnny say this activity took place?
  6           A    This would be after having arrived there at
  7                7:00 after eating supper, and they left the
  8                house at approximately 8:00.
  9           Q    Now, when he referred to the victim what name
 10                did he use?
 11           A    Scopie.
 12
              Q    And, when he finished with his narration what
 13                did you do then.
 14
              THE COURT:       What was the date of this?
 15           A    The date?
 16
              THE COURT:       The incident.     Not the date that you
 17
                               are talking to him but the tim~ that
 18
                               they had the Kung Fu and ate the
 19
                               dinner?
 20
              A    This would be the evening of the 17th.
 21
              BY MR. GIBSON:
 22
              Q    Officer, after he had finished with his narra-
 23                tion what did you do then?
 24
              A    There was more to this.          After leaving the house,

SAVORY-LL-000099
                1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 8 of 57




                                                  -8-

         1                is this where you want me to pick up?
         2          Q     Yes.
         3          A     He stated that Scopie and him left, they went
         4                up the street to the residence of a Martha
         5                Jones, that Martha gave him $4.00, they were
         6                there for a short period of time and that
         7                they left.   After they left the house Johnny
         8                gave Scopie $2:·00.    He stated they went up
          9               the hill to that chicken place and went
        10                inside, that both Scopie and him had ate
        11                three pieces of chicken, a roll, that Scopie
        12                had a Sprite and Johnny had a rootbeer, said
        13                they took their time, were there a while and
        14                at approximately 9:00 a young man yelled
         15               something at him, they couldn't understand
         16               exactly what it was but thought it to be of a
.
<
         17
;:!                       dirty nature, they both left and chased after
:E
"'
~        18               the kid and ran over the hill, he ran in his
N
0
::!0
         19               front door, and that ended the chase.           From
%


         20               there they proceeded on to Garden Street to
         21               the home address again.       The first time they
         22               were there nobody was there.        The second time
         23               when they arrived the stepfathe,r, the mother,
        24                the sister and the baby were all in the house.

       SAVORY-LL-000100
              1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 9 of 57




                                                 -9-
                  Q     Whose home are you referring to?
       2          A     This would be Scopie's home.        He stated that
       ;3
                        the sister was talking on the phone, the
       4                mother and father were sitting on the couch
       5                embraced, that they proceeded to a backroom
       H
                        practicing Kung Fu again for a few minutes

       '                then listened to some music.
       8
                  Q     Do you know the address Johnny was referring
       9                to when he said the victim's address?
      10          A     This would be 3033 Garden Street.          He stated
      11                that at?approximately 11:00 he left, walked
      12                home, took him about an hour, arriving home
      i3                at approximately 12:00.        He called the victim
      14                Scopie from his residence on Holbert Street,
      15                that they didn't have a phone, he used the
      l!i
                        neighbor's phone downstairs, he talked to
<
;:    ,-
=
      1'
                        Scopie until at least 1:00, maybe even later,
~
~     lo                until 1:30 or 2:00, and I asked him if he heard
N
0
0

"
0
      lD                any background noises, if there was any trouble,
z

      20                or yelling.   He stated, no, that at approx-
      21                imately 1:00 A.M. the stepfather had said good
      22                by to Scopie and that Scopie had returned
      23                the greeting with a· goodby and that it was kind
      24                of strange because the father and son didn't get


     SAVORY-LL-000101
                 1:23-cv-01184-CRL-JEH # 318-3      Filed: 04/22/24   Page 10 of 57




                                                       -10-

          1                      along that well.   He stated they talked
          2                      about general things, what they were going
          3                      to do and then Scopie made mention of having
          4                      something big to do the following day and he
          5                  wanted Johnny to come over at 8:00.            I asked
          6                  him if he went over at 8:00 and he said, no,
          7                  he had forgotten to.
          8          Q       In your testimony so far you have said that
           9                 Johnny said that the sister was on the phone.
         -10 -
                             Did he use the words, the sister, or did he
         11
                             identify the sister more specifically?
         12
                     A      I believe he stated just that it was Scopie's
         13
                            sister.
         14          Q      Now, was that the end of his narration to you?
          15         A     At the school, ··yes, it was.
          16
                     Q     After he finished his narrative what did you do
.
=         17
::!                         then?
e"'"'    18
                     A     Officer Hines and myself did not have all the
i
0
         19
                           facts pertaining to the case and we felt that
         20
                           other detectives at the station might have
         21
                           4 -   ~rtinent questions to ask trying to develop
         22
                           information and we asked Johnny if he would
         23
                           be willing to go down to the station with us
         24
                           and talk with the other detectives.

        SAVORY-LL-000102
                1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 11 of 57




                                                     -11-

                        Q    What was his response?
           2
                     THE COURT:        What time was that?
           8
                     A       This would be at approximately 4:00.
           4
                     Q       And, what date again?
           5
                     A       This would be on the 25th.
           6
                     BY MR. GIBSON::
           7
                     Q      Now, the individual that you stated you had
           8
                            talked to so far at the late afternoon school
           9
                            is he in the Courtroom here today?
        10
                     A,     Yes, he is.
        11
                     Q      And, would you point him out for us, please.
        12
                     A      It's the young man in the blue suit.
        13
                     Q      Is this individual that you have stated Johnny
        14
                            Savory that you spoke with?
        15
                    A       Yes, sir, it is.
        16
                    Q       When you asked Johnny to proceed to the station
."'
N
        17
::!                         with you what was his response?
::E
"'
~       18
,.                  A       He stated he would.
0
0
~
0
        19
z
                    Q       Did you tell Johnny why you wanted him to go. to
..;
z       20
z                           the station?
~
m

0
        21
u                   A       Yes, we explained that other detectives might have
        22
                            other pertinent questions to ask him pertaining
        '.?.3
                            to this case.
        24
                    Q       Did you place him under arrest at that time?

      SAVORY-LL-000103
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                                                   -12-

        1          A     No, he was not under arrest.
        2          Q     What was his status with regard to the case?
        3          A     The witness that had seen the victim Scopie,
        4                the last one we knew that had seen the victim
        5                Scopie.
        6          Q     While you were talking in this interview at
        7                the late afternoon school did Johnny Lee
         8               Savory exhibit an awareness that people had
         9               been killed on Garden Street?
       10          MR. VIELEY:      I   am going to object to the leading
       11
                                    questions.
       12
                   THE COURT:       I will overrule:      it at this time.
                         -
       13
                   BY MR. GIBSON:
       14          Q     Did he exhibit an awareness?
       15          A     Yes, he knew that there had been two people killed
       16
                         in the Garden Street.
..
<
       17
::!                MR. VIELEY:      I am going to object as to what he knew
.
:E

~      18
N
                                    unless he recites conversation.
~
0
       19
                   THE COURT:       I agree.     You have got to show how.
i
       20          MR. GIBSON:      I move that the answer be stricken, then,
       :21
                                    Your Honor.
       22
                   THE COURT:       I will leave it at this time and if they
       ~3
                                    don't elicit infonnation as to how, and
       24
                                   why, then, I will just strike the answer.

      SAVORY-LL-000104
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 13 of 57



                                                -13-

      1
                       I will give the State a chance to develop
      2                that.
                       ..
      3          BY MR. GIBSON:
      4          Q     In the conversation when you started the conver-
      5                sation did you explain to him what incidents
      6                you were interviewing about?
      7          A     Yes, sir, I did.
      8          Q     Which incident was that?
      9
                 A     We told him that two people had been killed and
     10
                       that this was a ·serious offense and the reason
     11
                       we wanted him to talk to us after refusing to
     12                at the start was because he was the only witness
     13
                       we knew, other than the family that had seen
     14                him last.   He could play a very important part
     15                in the case.
     16
                 Q     What, if anything, was his reply when you
<
~    17
=                      explained that these two people had been killed?
~
0
~    18
N
                 A     He stated I will talk to you now.
0
0
~
0
     19
                 Q     Now, I already asked you.       Was he under arrest
z
w    20
z
z
~
                       at this time or rather where did you go next
<
m
     21                with Johnny Savory?
3
     22
                 A     We started to leave the conference room from the
     23
                       late afternoon school, Johnny made mention of the
     24
                       knife that Scopie had and the fact that we probably

    SAVORY-LL-000105
              1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 14 of 57


                                       -14-


       1                 would never find it.      He stated that he had
       2                 one exactly like it, that they had both
       3                 bought them at the same time at Murray's.
        4                He stated that they paid not more than three
        5                or four dollars apiece for them.          He stated
        6                that the knife he had was down at his father's
        7                house and that if we wanted to we could look
        8                at it for comparison purposes and that he
        9                would take us down and show us the knife.
       10          Q     While he was saying this and while you were
       11                proceeding from the conference room was he
       12                restrained in any way?
       13
                   A     No, he was not.
       14                Were you holding him in any way?
                   Q
       15          A     No, sir, Officer Hines and I were in front,
       16
                         Johnny was three or four steps to the rear
       17
::!                      of us.
       18                Now, Officer, is there a department policy with
                   Q
...
0
...
0
0
       19                regard to the transportation of suspects or
       20                arrested from one area to another?
       21          A     Yes, there is.
       22          Q     How would you do that?
       23          A     The arrested suspect would be in cuffs and would
       24                be controlled by the officers at the scene.


      SAVORY-LL-000106
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                                            -15-

      1           Q     After he suggested that this knife might be
      2                 at his father's house, what did you do then?
      3           A    We proceeded to his father's house on Holbert.
      4                 Officer Hines and myself were in the front
      5                 of the car.   Johnny was in the rear.          We got
      6                 to his house at approximately ten minutes
      7                after four.
      8           Q     Going back to the conversation at the late
      9                afternoon school how long did that conversation
     10                 between yourself and Johnny Savory last?
     11           A    Approximately thirty minutes.
     12                When you arrived at the father's house what
                  Q
     13                happened then?
     14           A    Johnny left our car, walked into the apartment
     15                house, was gone from our sight for approximately
     16                sixty seconds, exited the house, walked back
<

=    17                to the car, stated at that time his father
=
     18
                       was not home, the door was locked, his father
H
0
0
~
0
     19                had the knife with nim anyway and that his
     20                father was getting medical attention at St.
     21                Marks.
     22           Q    Officer, is there an department policy with
     23                regard to transportation of suspects or any
     24
                       intermediate stops that might be made between

    SAVORY-LL-000107
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 16 of 57




                                                 -16-
      l                place of arrest and the place of incarceration?
      2           A    Yes, there is.
      3           Q    What would you do if there was such an inter-
      4                mediate stop with regard to a suspect or one
      5                who is under arrest?
      6           MR. VIELEY:      I am going to object to that.         I think
      7                            he can testify as to whatever policy
      8                            there is in writing and what the rule
      9                            is.
     10
                  THE COURT:       I will sustain the objection.         I will
     11
                                   just allow him to testify what the
     12
                                   policy is.   I assume he would follow
     13                            the policy anyway.
     14           BY MR. GIBSON:
     15           Q    Tell us what the policy is.
     16           A    The policy would be that of if there were two
.
<
N    17                people in the car one will be with the suspect
=
z
~

~    18                or arrested at all times.
N
0
0
~
0
     19           Q    Did any officer accompany Johnny Lee Savory when
z
     20                he went to the door of his father's house?
     21           A    No, sir.
     22           Q    After you were stopped at the father's house what
     23
                       did you do then?
     24
                  A    We proceeded to the police station.

    SAVORY-LL-000108
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 17 of 57



                                                 -17-

                  Q    Where did you go in the police station?
      2           A    We went to the detective juvenile bureau
      3                area and Officer Hines took Officer Fires
      4                and Officer Cannon into a conference room
      5                and explained what we had developed up
      6                until this time and what Johnny had told
      7                us.
      8           Q    Going back to when you were in the car pro-
      9                ceeding first to the father's house and then
     10
                       to the police station what were your respec-
     11
                       tive positions in the police car?
     12
                  A    I was driving the vehicle.         Officer Hines was
     13                a passenger.
     14           Q    And, Johnny Savory, where was he?
     15           A    He was in the back seat, I believe, on the
     16
                       right rear.
     17
                  Q    What time did you arrive at the police station?
     18
N
                  A    That would be at approximately 4:30.
0
~
0
     19
                  Q    What happened when you arrived?
     20
                  A    Johnny and I sat in the detective juvenile bureau
     ~l
                       area.   Officer Hines took Fires and Cannon into
     22
                       a conference room and explained to them the
     23
                       information we developed up to this time.
     24
                  Q    How large an area are we talking about here

    SAVORY-LL-000109
             1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 18 of 57



                                                 -18-

       1                the detective juvenile area?
       2          A     It would be about two thirds of this room.
       3          Q     Now, after Officer Hines met with these other
       4                officers what happened then?
       5          A     At approximately 5:00 Johnny was taken into a
       6                conference room to tell the story for a second
       7                time to Officer Fires and Officer Cannon.
       8          Q     Who were those officers again?
       9          A     Fires and Cannon.
      10          Q     Why did these particular officers enter into the
      11                meeting with Johnny Lee Savory?
      12          A     The information we had was of a limited nature
      13                because we were also dealing with the juvenile
      14                program and we did not have full access to every-
      15                thing that had developed up until this time.
      16                What was the status of Detectives Fires and Cannon
                  Q
."    17
N

                        with regard to this investigation at this time?
      18          A     They were also seeking information witnesses in
N
0
0
0
      19                regards to what had happened on the Garden street
      20                address.
      21          Q     And, when you, Officer Hines, Detective Fires,
      22                Detective Cannon and Johnny met what happened?

                  A     He proceeded with the story that he had told us
      :24
                        at the late afternoon high school and almost


     SAVORY-LL-000110
              1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 19 of 57




                                                   -19-

                         duplicated word for word what he told us.
        2
                    TIIE COURT:      How many officers were in this
        :3
                                     conference room?
        -!
                    A    There would be four at this time.
        5           BY MR. GIBSON:
        6
                    Q    Who were they again?
        7
                    A    It would be Officer Hines, Officer Fires,
        8
                         Officer Cannon and myself.
        9
                    Q    Do you recall where the interview with these
       10
                         four officers and Johnny Savory took place?
       11
                    A    It's an interview room behind the secretaries
       12                work area.
       13
                    Q    How large was that interview area?
       14           A    Approximately ten by six.
       15           Q    Now, was Johnny allowed to eat and drink during
       16
                         the interview?
<
~      17
=                   A    Yes, he was.
:
0
       18
N
                    Q    Did he eat and drink anything?
0
0
0
       19          A     Yes, he was asked if he wanted to drink and he
z
,.;
z
,:
       20                said he would like to have a soda, a rootbeer,
0

~
0
       21                and Officer Hines went down to put money in
u


       22                the machine and the machine malfunctioned and
       23
                         gave two sodas and he was given both sodas.
       24                He also had a candy bar in his pocket and he ate


      SAVORY-LL-000111
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 20 of 57




                                               -20-
                       part of that.
      2          Q     At this time did Johnny ask that anyone else
      3                be present?

                 A     No, sir, he did not.
      5          Q     How long did this particular interview last?
      6          A     Again this would be approximately thirty minutes.
      7          Q     How did it terminate?
      8          A     Him coming to the end of the story and the officers
      9                leaving the room.
     10                Did he ask you to leave the room?
                 Q
     11
                 A     No, sir, he did not.
     12                When it ended what happened then?
                 Q
     13          A     This would be at approximately 5:30.          At this time
     14                I left the station and went back down on Holbert
     15                Street to try to obtain this knife that Johnny
     16                had talked about.
.
<
N
     17          Q     When you went down to Holbert Street what happened
     18                there?
N
0
0
0
     19          A     I talked to Mr. Savory, told him that Johnny had
~
z
z
     ~o                stated he had a knife similar to the one that the
~
0
u
                       victim was supposed to have, that Johnny stated
     22                I could pick the knife up for comparison purposes.

                 Q     This Mr. Savory that you talked to at Holbert
     24                Street what relation, if any, did he bear to Johnny


    SAVORY-LL-000112
                1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 21 of 57




                                                     -21..;
          1                Lee Savory?
          2          A     He is the father of Johnny Savory.
          3          Q     What's his full name, do you know?
          4          A     Y.T. Savory~
          5          Q     Now, when you explained this to Y.T. Savory
          6                did he reply?
          7          A     Yes, he did.     He stated --
          8          MR. VIELEY:     I am going to have to object as to

          9                          what he stated, Judge.         That would be
         10
                                     hearsay.
         11
                     THE COURT:      Sustained, unless you have got some
         12
                                     reason why it would be an exception.
         13          MR. GIBSON:     I   don't think that we are introducing
        14                           this testimony for the purposes of
         15                          the truth or untruth of any of the
         16                          matters.     I think, this is merely by
<
N
  ..     17
::!                                  way of background to offer the facts.
.."'
0
         18          MR, VIELEY:     I don't know whether it's material to
"
~
0
         19                          this confession.
z
         20          THE COURT:      I don't know.      If it's not material we
         21                          can strike it.       I will overrule the
         22                          objection.    He can answer.
         23
                     A    He stated that the knife was not Johnny's, that
        24
                          it was, in fact, his knife and that the knife

       SAVORY-LL-000113
                1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 22 of 57




                                                   -22-

          1                was in a drawer, he walked over, opened the
          2                drawer and handed it to me and stated that
          3                Johnny hasn't done it, that it would be a
          4                big man that would do something like that.
          5          Q     Was that the end of your conversation with
          6                Mr. Savory?
          7          A     I replied to him that Johnny was in no way
          8                under suspicion for this.
          9          MR. VIELEY:     I am going to object to this.          That's
         10                          self serving, Judge.
         11          THE COURT:      Overruled.    He can state what he said
         12                          and what he did.
         13
                     A     That we are talking to him because he had been
         14                with Scopie the night prior to the murder and
         15
                           that he was the only witness we knew of to have
         16
                           seen him other than the family after this.
..."'    17
=                    Q     After that conversation what happened then?
"..
~        18
                     A     I proceeded back to the station with this knife
"
0
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         19
                           and I turned it over myself to Officer Jatkowski
z
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z        20
z
0
                           from the lab and he took it at this time.
..
~
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         21
0
u                    Q     Did you ever present that knife to Johnny Lee
         22
                           Savory?
         23
                     A     No, sir, I did not.
         24          Q     After you had returned··to the station and presented

        SAVORY-LL-000114
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 23 of 57




                                                 -23-

      1                the knife to Officer Jatkowski what did you
      2                do then?

      3           A    Officer Fires and I had some discrepancies from

      4                what the witness had told us as compared to
      5                what information had been developed prior to
      6                this.   Officer Fires made a phone call to
      7                check in regards to the food that was prepared,

      8                as to whether it was already sitting in the
      9                skillet or was prepared by Johnny and Scopie.
     10           Q    Let me interrupt you and ask you, did you
     11                take any specific steps as to ascertain
     12                whether they were discrepancies?
     13
                  A    Yes, I did.
     14           Q    What steps did you take?
     15           A    I phoned the man downstairs at 1011 Holbert
     10
                       and asked him in regards to the phone call
~
~

     17
=                      that was supposed to be placed whether Johnny
=
~


~    18
                       had used the phone, if it had been a two hour
0

~    19                period of time and at what time it took place.
i
z
w
z    20           Q    What was the discrepancy?
z
~
m
     21                           I am going to object to that.          He is
3

     ~2                           just trying to get hearsay in, Judge,
     ~3                           by a roundabout way.
     24           THE COURT:      I will sustain that as to what the


    SAVORY-LL-000115
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 24 of 57




                                                -24-

       1               neighbor told him.
       2          BY MR. GIBSON:
      3           Q    After you made the phone call did you take
       4               any other steps as to ascertain any other
       5               possible discrepancies?
       6          A    At this time we just decided to go back in
       7               and talk to Johnny.
       8          Q    About what?
       9          A    It would be in regards to the discrepancies
      10
                       from his first statement and the statements
      11
                       we had developed prior to this time.
      12
                  Q    Now, where did this new interview take place?
     13          A     Again this would be in the same room.
     14          Q     Who else besides Johnny Lee Savory was there?
      15         A     Officer Fires and myself.
      16
                 Q     During this interview did Johnny ask for anyone
<
:     17               else to be present?
=
E
~
0
~     18         A     No, sir, he did not.
~


~
0
      19         Q     How long did this new interview last?
     20          A     Approximately 30 to 45 minutes.
     21          Q     And, during this interview what did you say to
     22                him and what did he say to you?
     23          A     I questioned him pertaining to the food, he
     24                stated that the mother had left it on the stove,

    SAVORY-LL-000116
              1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 25 of 57




                                                  -25-

       1                he had said something in regards to Scopie
       2                putting the dog in a closet off the bed-
       3                room.     I knew the door that led off the
       4                bedroom went to a garage not to a closet.
       3                He had made statements that he had been
       6                with the family, known the family for years
       7                and years, that Scopie and him had gone to
        8               school together, the sister changed his
        9               diapers, he was very close to them and yet
       10
                        the informat:ion I deV-eloped in talking to
       11               him was that of not having been there very
       12               many times, if more than just the one time
       13               that he spoke of.      I questioned him directly
       14               in regards to the phone call and finally he
       15               admitted that the food was prepared, that
       16               he had not made the phone call, that he, in
.
C
ff
       17               fact, had only been there the one time and
~
~
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~      18
                        that would be on the evening of the 17th.
N
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0
       19          Q    Now, when he revealed those facts to you,
z
       20               Officer, how did you respond to him?
       21          A    -~e   told him that we now had two different
       ~2               stories and we couldn't really understand why
       ~3               he had not told us the truth or, in fact, which
       24               time he had told us the truth.

     SAVORY-LL-000117
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                                              -26-
                    Q    During this interview or any of the other
        2                interviews that were conducted at the police
        3                station or at the late afternoon high school
        4                did you question him with regard to the actual
        5                date of the murder itself?
        6           A    No, sir, I did not.
        7           Q    When this interview ended how did it end?
        8           A    Officer Hines came in, Officer Fires left,
        9                Hines had several pictures and for clarification
       10                purposes to find out if these were the changes
       11                that Johnny had talked -·about and if he could
       12                identify and he was shown a series of pictures.
       13
                    Q    Did these pictures include any pictures or
       14                purported pictures of the bodies of the victims?
       15
                    A    No, sir, they did not.
       16
                    Q    What was in these particular pictures?
:""    17
::!                 A    Pictures of the night stick, pictures of the
~
~       i8
                         chug, pictures of the T.V. set sitting on the
"
0
0
0
       19                floor, a picture of the stand and when he
z
.;
z
z
       20                looked at the stand he stated that this is
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:
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u
       :.n               my bottle of fingernail polish that was
       :22               sitting on the floor at the base of it, and,
       ~3                also, a picture of the victim, Scopie's bedroom,
       24                which showed the bed and the stereo off of the

      SAVORY-LL-000118
                 1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 27 of 57




                                                      -28-

        1              left hand side.
        2              Q    Were any of these pictures introduced prior
        3                    to interviews at the police station?
        4              A     No, sir, they were not.
        5              THE COURT:       About what time are we at now?
        6              A     '!his would be at approximately quarter to seven.
        7              BY MR. GIBSON:
        8              Q    How much time had elapsed between the time when
        9                    Johnny first accompanied you from the late
       10                    a;t~rnoon school to the time that we are talking
       11
                             about right now?
       12              A     From the time we left the school until this time
       13                    approximately three hours.
       14              Q    How much of that time had been expended in inter-
       15                   views?
       16              A    Approximately at the station an hour to an hour
.
<
N
       17
=                            and 15 minutes.
~
e      18
                       Q    When the interview was concluded what did you do
N
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...
0
0
       19                    then?
z

       20              A    At this time I had no more active part such as
       n                     questioning or talking to him.          There was talk
       22                   of taking Johnny to another location.            To Mr.
       23
                             Jenkins office.
       24
                       Q     Do   you know what happened after the interview

      SAVORY-LL-000119
            I.
               1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 28 of 57




                                                   -28-

                          was concluded?
         2
                     A    Yes, Officer Hines had contacted Percy Baker
          3
                          and requested that he come to the station,

                          which he did.

                     Q    Why was Percy Baker summoned?
          6
                     A    He was the Court appointed representative for
          7               his guardianship.
          8          Q    Did Johnny ask for Percy Baker?
          9
                     A    No, he did not.
         10          Q    At this time that we are talking about when there
         11               is discussion about taking a polygraph and the
         12               second interview at the police station had just
         13
                          ended did .Johnny ask for counsel or for his father?
        14           A    No, sir, he did not.
         15               Now, do you know after Mr. Baker arrived what
                     Q
         16
                          transpired then?
...
<
         17
:::!                 A    Again I did not take an active part in this.           I
         18               know that he was told that they wanted to take
~
0
0
~
0
         19               Johnny to another location to be interviewed by
z
..;
z
z
         20               Mr. Jenkins, that Mr. Baker stated it was okay
.."'
0
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0
v
        21                with him if Johnny agreed and at this time Johnny
        22                had stated that he would go and they left the

                          station at this time.
        24           Q    Do   you know why he was asked to interview with

       SAVORY-LL-000120
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                                                  -29-

       1                Mr. Jenkins?
       2           A    Because we had two stories pertaining to what
       3                had happened and we ourselves did not have the
       4                power to ascertain whether he told the truth
       5                the first time or the secorrl time and this
       6                was to determine which time he had told the
       7                truth.
       8           Q    You state that you had never asked Johnny
       9                Savory about the day of the killing itself?
      10
                  A     Right.
      11
                   Q    During the course of the interviews so far
      12
                        at the police stati~n did Johnny admit to
      13
                        being involved in any way with the victims
      14                on the date of the killing itself?
      15          A     The only thing I recall Johnny having to say
      16
                        about that was that he was there the following
      17
                        night to see the cars and thought that some-
      18
                        thing had happened.      This would be well after
      19
                        this offense had taken place.
      20
                  Q     Now, after Johnny and Mr. Baker had agreed to
0
      21                this polygraph what happened then?
u


      22          A     They left the station.
      23
                  Q     You didn't accompany Mr. Baker or the others to
      24
                        the polygraph?

    SAVORY-LL-000121
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 30 of 57



                                                -30-

                 A     No, sir, I did not.

                 Q     Now, in each of these interviews and let's

                       clarify for everybody how many interviews

                       there were at the police station?

                 A     There were two interviews at the police station.
      6          Q     In these interviews did you or any of the other
      7                officers shout at Johnny Savory?
      8          A     No, we did not.
      9          Q     Strike Johnny Savory?
     10          A     No, sir, we did not.
     11          Q     Threaten Johnny Savory?
     12          A     No, sir, we did not.
     13                Did you or any of the officers make any promises
                 Q
     14                or representations to Johnny Savory as far as
     15                any benefits that might come from talking?
     Io          A     No, sir, we did not.
     17           Q    At any time was Johnny Savory locked in any of

     18                the facilities or in the juvenile detective
N
0
0
~
0
     19                area?
w
z    20           A    No, sir.
z
;
:
     21           Q    Are there any locked facilities up there in the

                       juvenile detective area?

                  A    There are two cells that lock but we do not
     24                detain juveniles in these cells.


    SAVORY-LL-000122
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24    Page 31 of 57



                                                -31-

      1
                  Q    Now, at any time on the 20th during or in
      2
                       between these two interviews at the police
      3                station did Johnny Savory ask to go to the
      4                bathroom?
       5          A    Yes, sir, he did.
       6               And, did you allow him to do so?
                  Q
      7           A    Yes, sir, I did.
       8
                  Q    What is the department policy, if you know, with
       9
                       regard to suspects or those under arrest using
      10
                       the bathroom facilities on that floor of the
      11
                       police station?
     12
                  A    They can use the facilities.           They will be
     13                accompanied by an officer.
     14           Q    When Johnny asked to go to these particular
      15               facilities did you accompany him?
      16         A     I showed him the doorway to the restroom but I
.
<
N
      17               did not accompany him.
      18
                  Q    Perhaps you should clarify that for us, if you
     19
                       would please, when you say accompany him what
z                                                                              \
     20                do you mean?
     21          A     I would enter the restroom area with an arrested
     22                person and I would be in the facility just in
     23
                       case.something should happen.
     24
                 Q     Did you do this with Johnny SAvory?


    SAVORY-LL-000123
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                                                     -32-
          1            A   No, I did not.
          2            Q   What did you do?
          3           A    I   proceeded a few steps down the hall, got a

                           drink of water and sat down in the chair.
           5          Q    Did you or any of the officers ever accuse
           6               Johnny Savory of the murder of the two victims?
           7          A    No, sir, we did not.
           8
                      Q    Did anyone accuse him of any crime during
           9
                           those two interviews at the police station?
          10
                      A    No, sir.
          11
                      Q    Did Johnny prior to the trip to the polygraph
          12
                           station ask for counsel?
         13
                      A    No.
         14           Q    His parents?
          15          A    No.
          16
                      Q    Did Johnny refuse to talk to any other officers?
...""     17
                      A    He made the statement when we first started to
          18
                           talk and this would be away from this particular
          19
                           officer he stated I don't want to talk to that
.
z        20
z
~
                           nigger.
;:;
         ~l
0
u                     Q    Did Johnny ever speak with that particular officer
         22
                           alone?
         23
                      A    He was not alone but, yes, he did speak with that
         24
                           officer.


        SAVORY-LL-000124
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                                                 -33-

                  Q     when he did speak with the officer who else
       •)
                       was there?
       3          A     Officer Fires, Officer Hines and myself.

                  Q    Who was that particular officer?
       5          A    He was speaking of Officer King.
       6          Q    Where was Johnny and where was Officer Cannon
       7               when he made the statement I don't want to
       8                talk to that nigger?
       9          A    We were in the detective bureau area.
     10           Q    When confronted with Officer Cannon did Johnny
     11                say anything at that time with regard to his
     12                not wanting to speak with him?
     13
                  A    No, he did not.
     14           Q    During any of these interviews did Johnny ask
     15                the meaning of any words that you employed in

                       interviewing him?
     ,-
      • I
                  A    No, sir •
     18           Q    Did he ask you to clarify any of the questions
N
0
0
0
     19                that you asked?
     20           A    Not that I recall.
     21                And, all of these locations that we have discussed
                  Q
     22                in the testimony thus far these were in Peoria
     23                County and State of Illinois?

                  A    Yes, sir.


    SAVORY-LL-000125
                1:23-cv-01184-CRL-JEH # 318-3       Filed: 04/22/24   Page 34 of 57




                                                       -34-
                     MR. GIBSON:       That's all the questions of this witness.
          2          CROSS EXAMINATIOP 13Y MR. VIELEY:
          :~
                     Q     Now, Officer Pinckney, you testified that you
          4
                           interviewed Johnny Savory on January 20, 1977,
          5
                           is that correct?
          (l
                     A     Yes, sir.

          '          Q     Is that the first time you ever discussed or
          8
                           met Johnny Savory?
          9
                     A     No, sir.
         10
                     Q     You were familiar with Johnny Savory prior to
         11                January 20, 1977, is that correct?
         12          A     Yes, sir.
         13
                     Q     What was his approximate age on that date?
         14          A     Approximately 14.
         15
                     Q     And, what grade of school was he in at that time?
         1(j
                     A     To the best of my knowledge, seventp grade .
..       17          Q     Now, would you characterize his intelligence on
=
"'~"'
         18
N
                           that date as that of being superior or as that
0

~        19
-,
                           of being below average?
z

"'zz     20         MR. GIBSON:        Objection.     It's asking for a speculation,
s
0



         21
0u                                     particularly speculation on which there
         22
                                       has been no foundation laid for the
         23
                                       officers qualifications to make such a
         24
                                       judgment.


        SAVORY-LL-000126
              1:23-cv-01184-CRL-JEH # 318-3      Filed: 04/22/24   Page 35 of 57




                                                     -35-
        1           THE COURT:         Overruled.
        2           A       I would have to say that it would be on an
        3                   average basis below average.
        4           Q       Do you know if he reads and writes the English
        5                language?
        6           A       I believe so, yes.
        7
                    Q       But, he is the seventh grade or he was at that
        8
                            time, is that correct?
        9
                    A       To hhe best of my knowledge, yes, sir.
       10
                    Q      And, do you know where a normal child would be
       11
                           of the age of 14 -- what grade that child would
       12
                            be in?
       13          A       Probably ninth grade.
       14          Q       He would be in high school, would he not?
       15          A       Yes, sir.
       16
                   Q       Now, I believe, you testified that on January
.
<
N
       17
·=                         20, you went to the school, is that correct;about 3:30?
z
"'~
       18
N
                   A       Yes, sir.
0

~      19
                   Q       And, were you in an uniform on that date at that
z
       20
                           particular time?
       21
                   A       No, sir, ~.was. not.
       22
                   Q       You were in civilian clothes?
       23
                   A       Yes, sir.
       24
                   Q       And, you mentioned that you went there with another


      SAVORY-LL-000127
               1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 36 of 57




                                                   -36-
         1
                          officer -- an Officer Hines, is that correct?
         2          A     Yes, sir.
         ;3
                    Q     And, was that officer in uniform?
         4          A     No, sir, he was not.
         5
                    Q     He was in civilian clothes, also?

                    A     Yes.
         7
                    Q     Or street clothes?
          8               Yes, sir.
                    A
          9
                    Q     Now, when you first went to the school did you
        10                contact the principal or any school officials?
        11          A     Yes, sir, we_did.
        12          Q     And, I assume, that the official allowed you
        1.3
                          to interview Johnny Savory, is that correct?
        14          A     Yes, sir, that's correct.
        15
                    Q     Now, when you first met Johnny Savory on that

                          afternoon did you show him a badge?
        17
                    A     No, sir, I did not.
        18
N
                    Q     Did you introduce yourself as an police officer?
0


~       19
                    A     Yes, sir, I did.
...z    20
z
,..
0                   Q     And, in fact, Johnny knew you to be a police
:
        21
0V
                          officer because he had met you before on other
        22
                          occasions, had he not?
        23
                    A     Yes, sir, that's correct.
        24
                    Q     So he knew that both you and Officer Hines were

       SAVORY-LL-000128
             1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 37 of 57




                                                 -37-
       1                police officers even though you were dressed
       2                in civilian clothes?
       3          A     Yes, sir.
       4          Q     Now, I believe, you testified on direct
       5                examination that you told Johnny Savory words
       6                to the effect that we would like to talk to
       7                you about Scopie, is that correct?
       8          A     Yes, sir.
       9          Q     T9ose were your initial remarks?
      10          A     Yes, sir.
      11
                  Q     And, his initial remarks were I don't want to
      12
                        talk about, I won't make any statements?
      13          A     Yes, sir.
      14
                  Q     And, yet after these remarks of Johnny Savory
      15                indicating his reluctance to talk about this
      16
                        matter you continued your conversation, did you
.
<
N
      17
=                       not?
~
~     18
N
                  A     Yes, sir.
0
0

"
0
      19
                  Q     Now, after Johnny Savory made those reluctant
i.
.;
      20
z
z                       remarks that he didn't want to talk about it.
~
      21
3                 MR. GIBSON:       Objection, Judge.     I will object to
      22
                                    the characterization of these remarks.
      23
                  THE COURT:        We will strike the word reluctant.
      24
                  :SY MR. VIELEY:

     SAVORY-LL-000129
                                             ~-71
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                                                   -38-

         1          Q    Did you give Johnny his Miranda warning?
         2          A    No, sir.
         3          Q    Now, at that time you had your Miranda card,
         4
                         did you not?
         5          A    Yes, sir.
         6
                    Q    And, yet you didn't offer to give this young
         7               man any legal rights, did you?
         8          A    No, sir.
         9          Q    Did Officer Hines read him the Miranda warning
        10
                         at that time?
        11
                    A    No, sir.
        12
                    Q    Did you tell Johnny Savory that he had a right
        13               to have an attorrey present during the questions
       14                that you asked him?
        15          A    No, sir.
        16          Q    Now, was the principal present during this first
..
<
N
        17               interrogation at the school?
        18          A    No, sir.
N
0

~       19
~
                    Q    So, it was just you three -- Officer Hines, your-
z
,.;
z
z
        20               self and Johnny Savory, is that correct?
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       21           A    Yes, sir.
u
Q
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...    22
~                   Q    Now, for the sake of the record I want you to
       ~3                tell us, Officer, to your knowledge what was
       24                the approximate date and approximate time of the


      SAVORY-LL-000130
                  1:23-cv-01184-CRL-JEH # 318-3    Filed: 04/22/24   Page 39 of 57




                                                      -39-
            1                death of the two victims?
            2         A      It would be the 18th of .January.         The only
            3                information I know is that it was in the
            4
                             morning, around 9:00.
            5
                      Q      About 9:00 A.M. on January 18 of 1977?
            6
                      A      Yes, sir.
            7
                      Q      Now, you testified on direct examination that
            8
                             this last conversation lasted how long at
            9
                             the school?
           10         A      Approximately thirty minutes.
           11
                      Q      And, this took place in one of the teachers
           12
                             lonnges, is that correct?
           13         A      Yes, sir.
           14         Q      Now, at any time during this conversatton ~did
           15                you tell Johnny Savory that he was free to go
           16
                             and could leave at any time?
.......    17
=                     A      No, sir, I did not.
           18
...
                      Q      Now, after this tntr~y minutes of questioning,
0

~          19
                             I believe, you testified that you took him
           20
                             down to the police station, is that correct?
           21
                      A      Yes, sir.
           22
                      Q      And, did you take him in a swuad car -- a marked
           23
                             police car?
           24
                      A      It's considered an unmarked car.          It's the 1 ight

          SAVORY-LL-000131
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 40 of 57



                                                -40-

                       blue color with no lights or insignia on it.

                  Q    And, you told him to sit in the back seat

                       did you not?

                  A    He wasn't told.      He entered the back seat and
      5                we entered the front.

                  Q    As you left the school you requested that he
      7                come along with you, did you not?
      8           A    We asked him if he would go and he said, yes.
      9           Q    Did you, also, tell him that he was free not
     10                to go if he so elected?
     11           A    No, sir.
     12           Q    As you were requesting that he accompany you
     13                to the police station did you tell him that
     14                he would have a right to have an attorney go
     15                along and be present at the police station?
     10          A     No, sir.
     17           Q    Did you tell him that he would have the right
     18                to have his father or a parent present at the
0
0
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     19                police station?
~
z
z
     20           A    No, sir.
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0
     21           Q    Now, what floor of the police station did the

                       three of you enter?

                 A     We entered by way of the side door and proceeded
     24                to the second floor.


    SAVORY-LL-000132
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 41 of 57




                                                 -41-
      1            Q    To the juvenile detention area, is that
      2                 what you stated?
      3           A     Yes.
      4           Q     Are there bars on the window?
       5                Ther·~ are screens on the interview windows,
       6                yes.
       7          Q     They are not the usual type of screens that
       8                a person would have in his house, is that
       9                correct?
      10          A     That is correct.
     11           Q     Screens that are designed to prevent one from
     12
                        leaving those premises, is that correct?
     13           A     By way of the windows, yes, sir.
     14           Q     In other words, the screens restrain a person
      15               from leaving via the windows?
      16          A    Yes, sir.
.
<
N
      17
                  Q    And, those screens are on every window at the
=
~
0
      18
                       juvenile detective floor, is that correct?
     19
                  A    Yes, sir, that's correct.
     20
                  Q    And, there is a door on the juvenile detective
     21
                       area, is there not?
     22           A    Yes, sir, there is.
     23
                  Q    So, I take it, that one being up at the juvenile
     24
                       detective area would rapidly gain the impression

    SAVORY-LL-000133
                                               ~-8l
               1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 42 of 57



                                               -42-

                           that you couldn't just simply stroll away if
         2                · you wanted to, is that a fair statement?
         3           A     The door itself is always left open for the
         4                most part.    The window would be visible to
         5                 the normal person walking in.
         6
                     Q    Now, when you arrived at the station how many
         7                officers were present at the juvenile detective
         8                area?
         9           A    The only ones that were actively involved with
        10
                          Johnny upon entering the situation were Officer
        11                Hines and myself.     As I recall, there were no
        12                other juvenile officers there.          The lieutenant
        13                was there in her office because we had called
        14                her stating we were coming in.
        15           Q    Who else was there?
        16           A    Officer Fires, Officer Cannon, I believe, Sargeant
.
<
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        17                Tarks, and, at this time, I do not recall anybody
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."
I;'.    18                else being there •
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0
        19           Q    So, there were about six police people there, is
z

        20                that correct?
        21           A    In different parts of the facility, yes.
        22           Q    And, they would be visible to Johnny Savory, is
        23                that correct?
        24          A     On again, off again.        For the most part, yes.

       SAVORY-LL-000134
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 43 of 57



                                            -43-

      1                Now, upon arriving at the police station were
                  Q
      2                the Miranda warnings read to Johnny Savory?
      3           A    No, sir, they were not.
       4          Q    Did you call his father and tell the father that
       5               we have your son down at the police station?
       6          A    No, sir, they don't have a phone.
       7          Q    At that time did you call the juvenile authority
       8               and Mr. Baker and indicate to him that you had
       9               Johnny down there?
      10          A    No, sir, we did not.
      11
                  Q    Now, before you arrived at the station, I believe,
      12
                       you testified that you stopped by the father's
     13                home?
     14           A    Yes, sir.
      15          Q    And, you allowed Johnny to enter the home for the
      16               purpose of getting the knife, is that correct?
.
<
N
      17          A    Yes, sir.
      18
N
                  Q    Now, did you warn him at that time that the knife
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~
0
      19               could possibly be used as a piece of evidence
     20                against him in a criminal proceeding?
     21           A    No, sir.
     22           Q    At any time during the course of the day that you
     23
                       have just described did you warn this young man
     24
                       that he could possibly be tried in a Court of law

    SAVORY-LL-000135
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 44 of 57



                                                -44-

      1                as an adult and not a juvenile?
      2           A    No, sir.
      3
                  Q    Did anyone, to your knowledge, warn this young
      4
                       man on that date in question that he could be
      5
                       tried as an adult in a criminal Court of law?
      6
                  A    Yes, sir.
      7
                  Q    Who did that?
      8
                  A    To the best of my knowledge, Officer Cannon.
      9
                  Q    And, when was that made?
     10
                  A    To the best of my knowledge, approximately 10:00
     11                or 10:30 on the night of the 25th.
     12           Q    And, this is well after the events that you have
     13                just described, is that correct?

     14          A     Yes, sir, it is.
     15                Now, I believe, you stated that the Defendant,
                  Q
     16
                       Johnny Savory, was taken to the juvenile detective
<
:    17
                       area but it was an area ten by six and, I assume,
     18                you mean ten feet by six feet, approximately?
     19          A     This would be the interview room, yes, sir.
     20          Q     And, are there windows in that interview room?
     21          A     There is one, yes, sir.
     22          Q     Does it have a screen on it?
     23          A     Yes, sir, it does.
     24          Q     And, is that the kind of screen that keeps people


    SAVORY-LL-000136
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 45 of 57




                                                -45-
      1                from leaving?
      2          A     Or falling out, yes, sir.
      3          Q     And, how many police were in this ten by six

                       area with the Defendant, Johnny Savory?
      5          A     On the first interview there were four.
      6          Q     So, is it fair to say it was rather crowded in
      7                this small room, I assume, it's like a cubicle?
      8          A     I wouldn't say it was crowded.
      9          Q     Was it hot in this room?
     10          A     No, sir, it was winter out.
     11          Q     Now, I believe, you indicated that it was after
     12                the first interview at the police station you
     13
                       left to talk to this young man's father?
     14          A     Yes, sir.
     15          Q     You went out to the father's home on Holbert Street?
     16          A     Yes, sir.
     17          Q     And, you had a conversation with the father, namely,
     18                Y.T. Savory?
N
0
0

                 A
~
0
     19                Yes, sir.
     20          Q     Now, did you bring the father back to the police
     21                station so that he could counsel with and be with
     22                his son during this interrogation?
     23          A     No, sir.
     24          Q     Did that thought ever enter your mind?


    SAVORY-LL-000137
                  1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 46 of 57



                                                       -46-

            1           A    We don't do that usually with a witness.
            2           Q    You didn't think that the boy might like to
            3                have his dad there or someone~there for moral
            4                 support?
            5           A    The boy didn't want his father there.
            6           Q    At any rate Y.T. Savory told you that his son
            7                did not connnit this crime and that it was done
            8                by·a big man, is that correct?
            9           A    That is correct.
           10                But, the father did give you a knife, is that
                        Q
           11                correct?
           12           A    Yes, sir.
           13           Q    And, you took that back to the station?
           14           A    Yes, sir.
           15           Q    And, you turned that over to the evidence detective,
           16                did you not?
.......
           17           A    The lab man •
           18
.                       Q    So, in the back of your mind you had a thought or
0

~          19
                             a suspicion that perhaps this knife could have
,.;
           20
z
z                            been used in this crime, isn't that correct?
.
~
           21
0
u                       A    No, sir.
           22           Q    Then, why did you bring it back for?
           23          A     Johnny had stated it was exactly the same type of
           24
                             knife that Scopie had.       It was brought back for


          SAVORY-LL-000138
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                                                    -47-

           1                purposes of identification for brand name and
           2                what it looked like.
           3          Q     And, for possible use as evidence, isn't that true?
           4          A     Not at this time.

           5          Q     Now, was this knife tagged and placed in the
           6                evidence locker?
           7          A     I have no idea.
           8          Q     Isn't it normal practice of the police department
           9                to always tag an item that's brought in and placed
          10                in the evidence locker?
          11          A     It really depends upon the situation.           If it was
          12                brought in as evidence it would probably be placed
          13
                            in an evidence locker with a copy of the report
          14                for processing at a later date but on this occasion
          15                the only thing I know for sure was that I turned
          16                it over because it was exactly the same type of
<    .
:         17                knife the victim supposedly had also.
s=
~
0
~         18          Q     It's marked as evidence now, is it not?
N
0
~
0
          19          A     Again I have no knowledge of that.
z
          20          Q     You have no knowledge of that.         Now, then, after
          21                you returned to the police       department with the
          22                knife was there another interview with Johnny
          23                Savory?
          24          A     Yes, sir, there was.

         SAVORY-LL-000139
             1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 48 of 57




                                                  -48-
      1            Q    And, how many officers were present for that
      2                 interview or was it once again in this cubicle?
      3           A     Yes, sir, it was in the i~terview room and there
      4                 were two officers present.
       5
                   Q    And, at that time you became rather curious or
       6
                        aware of the discrepancies in the two stories,
       7                is that correct?
       8          A     Yes, sir.
       9
                  Q     In other words, you were concerned about who
      10
                        fixed the hot dogs and corn, is that correct?
     11           A     That's right.
      12          Q     And, why would that concern you in a murder case
     13
                        such as this?
     14           A     Because I was trying to find out how much
      15
                        information Johnny really knew, what kind of a
      16
                        witness he was, whether he was just trying to
      17
                        get himself involved because he enjoyed the
      18
N
                        attention, being in the limelight, having been
0

~    19
                        the last person to see him alive, other than
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z    20
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>
                        his family.
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m
     21
                  Q     111 that was left to do was to pursue this issue
     22
                       of who fixed the corn and who cut up the hoc
     23
                       dogs?
     24
                  A    Among the other discrepancies, yes, sir.

    SAVORY-LL-000140
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 49 of 57




                                                -49-

       1          Q    What other discrepancies were there?
       2          A    He stated that Scopie had put the dog in the
       3               closet off the bedroom.       This is after having
       4               been there numerous times and knowing~the
       5               family very well.     It was not a closet but it
       6               was a door to the garage.         There was talk
       7               about the T.V. being placed on the floor.              We
       8               did know the T.V. was on the floor,· so that
       9               was accurate.   He had made a phone call, that
      10
                       he had talked for at least an hour and possibly
      11
                       even as long as two hours.        That was not correct.
      12
                  Q    So, because of this doubt that you decided i t
      13
                       was time for a polygraph, is that correct?
      14          A    No, sir, I did not make this decision.
      15
                  Q    Someone made that decision?
      16
                  A    Yes, sir.
      17
                  Q    Who made that decision?
      18          A    The only person I know for sure that was involved
      19               in that was Officer Hines.
      20          Q    Is it your normal police procedure that you give
0
      21               everybody who is not even a suspect, in your
u


      22               words, a polygraph examination when you interview
      23               them at the police station?
      24         A     Quite often, yes, sir.

    SAVORY-LL-000141
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24    Page 50 of 57




                                                -so-
     1            Q     How often does that happen?       Does it happen
     2                  on a daily basis when you are involved?
     3            A     I would say for the nonnal rate per sexual
     4                  assault and rape.
      5
                  Q     You are talking about sexual assault?
      6           A     I am talking about my daily cases.           In other
      7                 words, if we have a question as to whether or
      8                 not the witness is telling the truth, it's a
      9                 pursuable case and we want to make sure we
     10
                        are doing everything we can.          Yes, sir, we do
     11                 use it.
     12           Q     So, really, what you are telling me is that
     13
                        he was really more than a witness.          He was, in
     14                 fact, material to this case, was he not,
     15                 because he was the last person to see
     16
                        these alleged victims alive, isn't that true?
     17
                  A     I don't know if I would say material.
     18
N
                  Q     He was material enough that you were going to
0

~    19
                       ·~pursue it with a polygraph, isn't that true?
     20
                  A     Yes.   We wanted to know why his story was differing
     21
                        now as compared to the first time.
     22
                 Q      Isn't it true that the things he lied to you about
     23
                        weren't material at that point to the murder?            How
     24
                        can who fixed the corn be material to a murder case?

    SAVORY-LL-000142
                1:23-cv-01184-CRL-JEH # 318-3     Filed: 04/22/24   Page 51 of 57




                                                      -51-

          1          MR. GIBSON:       Objection.     That's calling for a

          2                            speculation on the part of the

          3                            witness.
          4           THE COURT:       overruled.      He can answer.

          5           BY MR. VIELEY:
          6           Q    Now, was the Defendant then taken to Mr. Jenkins

          7                office?
          8           A    As far as I know, yes, he was.
          9           Q    You weren't present for that?
         10           A    No, sir, I was not.
         11           Q    Is it true that Percy Baker didn't appear on~the

         12                scene until at least after three separate inter-
         13                views by the police officers with this young man?

         14           A    Yes, sir, that is correct.
         15           Q    Now, at the time you took the Defendant, Johnny
         16                Savory, from the school to the police department
<
~        17
::!
                           did you notify his father or obtain any permission
E

..."'
0
         18                from the father?
"
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0
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0
         19           A    We went to his house·.        The father was not there
z
..;
z
z
         20                and we had no knowledge for sure where he was at.
s        21           Q    So, your answer would be, no, you did not obtain
3
         22                the permission of the father, is that correct?
         23           A    That is correct.
         24           Q    Now, Officer, are you familiar with Section 703-2,

        SAVORY-LL-000143
              1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 52 of 57




                                                   -52-

         1
                          of the Juvenile Court Act?
         2
                     A    By the numbers, no, sir, I am not.
         3
                     Q    Let me read part of it to you and ask you --
         4
                     MR. GIBSON:     I will object to the introduction of
         5
                                     the words of the statute and questioning.
         6
                     THE COURT:      What section of the statute is that?
         7
                    MR. VIELEY:      703-2, Your Honor, subsection one, chapter
         8
                                     37 of the Juvenile Court Act.
         9
                     THE COURT:      I will sustain the objection as to
        10
                                     whether he knows that statute or not.
        11
                                     The law is the law.
        12
                    BY MR. VIELEY:
        13
                    Q     How many hours had John~y Savory been with you
        14                before you contac,ted his father?
        15          A    Approximately two hours, or two hours and fifteen
        16               minutes.
<

=       17
:!                  Q    And, how many hours had he been with you before
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:E

...
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        18
.                        you contacted Percy Baker?
0
::!
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        19
                    A    I believe Percy was contacted at about 9:00, so,
z
..;
z
z
        20               that would make it about S\ hours .
.
0
!;
        21
3                   Q    Now, at one time, during the interrogation, I
        22               believe, you indicated that Johnny said that he
        23
                         didn't want to talk to Officer Cannon, is that
        24               correct?

      SAVORY-LL-000144
             1:23-cv-01184-CRL-JEH # 318-3    Filed: 04/22/24   Page 53 of 57




                                                 -53-
       1
                  A     Yes, sir.
       2          Q     And, yet, the interrogation continued, :did it not?
       3          A     This statement he made was prior to ever getting
       4                in the interrogation room.        He did talk to him
       5
                        stating that we all worked together.           We were a
       6
                        unit, that we were trying to come up with a suspect
       7                who had committed this act and that it was very
       8                important that we talk to him and he agreed with
       9                this.
      10          Q     But, isn't it true that you asked him questions
      11                after he indicated he didn't want to talk to
      12                Officer Cannon?
      13
                 A      After he agreed to go ahead and interview, yes, he
      14                did talk to this officer.
      15         Q      Now, any time during this period you have just
      16
                        explained did you ever tell him that he was a
..
<
N
      17
:!                      possible suspect in this case?
      18
                 A      No, sir, I did not.
      19
                 Q      Did you ever tell him it was possible that he might
      20
                        be charged with a crime of murder?
      21
0
u                A       ,, sir, I did not.
      22         THE COURT:      Any re-direct?
      23
                 RE-DIRECT EXAMINATION BY MR. GIBSON:
      24
                        Officer s·Pinckney, why did you not advise Johnny

     SAVORY-LL-000145
            1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 54 of 57




                                                -54-
      1                Savory at any time during the day that he was
      2                a suspect?
      3            A   In my own mirid he was nothing more than a witness.
      4            Q   And, why did you not advise him of his rights
      5                that he could have a parent or a guardian present?
      6            A   Again he was on the status of a witness.           He, in
      7                fact, stated prior to my going down to pick up
      8                the knife that he didn't want his father there.
      9            Q   At any time when Johnny was accompanied by police
     10                officers was a juvenile officer absent or were
     11                there no juvenile officers in the room?
     12            A   As far as I can recall, no.
     13            Q   What floor is the juvenile detective bureau on
     14                at the police station?
     15            A   The second floor.
     16            Q   Now, how long have you been a police officer?
.
<
H
     17            A   I am in my seventh year.
=              •
~
~    18            Q   And, in the course of your duty you interview many
~
0
0
~
0
     19                witnesses, isn't that correct?
z
w    20
z
z                  A   Yes, sir.
~
0
     21            Q   Isn't it your practice to interview witnesses at
u



     22                the location where you initially meet?
     23            A   Yes, sir.    I should say that varies with the
     24                situation.   It's quite common to do it like that, yes.

    SAVORY-LL-000146
             1:23-cv-01184-CRL-JEH # 318-3   Filed: 04/22/24   Page 55 of 57




                                                 -55-
       1          Q     When do you vary from that practice?
       2          MR. VIELEY:      I am going to object unless he stays
       3                           with this case.      I think he is getting
       4                           far afield.
       5          THE COURT:       Overruled.    I will let him answer.
       6          BY MR. GIBSON:
       7          Q     When do you vary from the practice of interviewing
       8                the witnesses at the location?
       9          A     If it would be like at work place.           It wouldn't
      10                be convenient to try to talk to him over the
      11
                        noise.   If the situation is such that.it's
      12
                        comfortable for the person to talk.           If they
      13                can't talk to me and they want to meet later we
      14                would set up an interview at the police depart-
      15                ment.
      16          MR. GIBSON:·     That's all the re-direct I have.
,c
~     17
:!                THE COURT:       Anything else, Mr. Vieley?
:E
0:
~     18          MR. VIELEY:      No questions.
N
0

~     19          THE COURT:       It's your testimony that Johnny Savory
      20                         was at any time free to leave?
      21          A     Yes.
      22          Q     And, what would you do if he said I want to leave,
      23                I want to go home?
      24          A     He had not exercised that option.          Had he done

     SAVORY-LL-000147
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                                                 -56-
                        that we would have had to have contacted our
       2
                        superiors and asked them what to do.
       3
                  Q     And, 'tlil.o would that be?
       4          A     Lieutenant Dunlap.
       u
                  Q     So far as you were concerned he wasn't free
       ~
       n
                        to leave at any time?
       ~



        '         A     I just never had that option to make at that
       s                time.
        V
                  Q     I know we are speculating here.
      i (J
                  A     I don't know.    I really don't know.        It would
      l1                be up to the lieutenant.
      12          Q     Who would that have been?
      13
                  A     Lieutenant Dunlap.
      14
                  THE COURT:       That's all I have.
      15
                  RE-DIRECT EXAMINATION~BY MR. GIBSON:
       lb
                  Q     At any time were you presented with the situation
.
~

N
       17
=                       where Johnny had a desire to leave?
%
=
~      1~
N
                  A     No, sir.
~0
       19         RE-CROSS EXAMINATION BY MR. VIELEY:
z
w     20
z
z                 Q     I want to ask one question.        We are back during
s
0




0
      21                the interrogation and let's assume that Johnny
u


      22                Savory stands up and says I am going to leave
      23                and starts to walk out the door, isn't it true
      24
                        that you will say, now, just a minute, I have to


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                                                  -57-
        1                check with my superior?
        2          MR. GIBSON:       I think that question has been asked
        3                            and answered.
        4           THE COURT:       I will sustain the objection.         That's
        5                            just what I asked him.
        6           MR. VIELEY:      That's all I have.
        7           THE COURT:       The State may call its next witness.
        8          MR. GAUBAS:       Your Honor, the People would next call
        9                            to the stand Officer Charles Cannon.
       10           DIRECT EXAMINATION BY MR. GAUBAS:
       11           Q    Please state your name and occupation, for
       12                the Court.
       13
                    A    Officer Charles Cannon, police officer for the
       14                City of Peoria, and the County of Peoria, State
       15                of Illinois.
       16           Q    Officer Cannon, how long ha~e you been so
<
::     17
::!                      employed?
:E
"'
~      18
..                  A    Seven years •
0

~      19
~
                    Q    Directing your attention to the date of January 25,
z

       20                1977, were you so employed on that date?
       21
                   A     Yes, I was.
       22
                   Q     Up until and proceeding that date for the approximate
       23
                         time period of one week had you been working
      24
                         on any particular case for the Peoria police department?

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